     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 1 of 23 Page ID #:1




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        GOOD SHEPHERD
 7      MINISTRIES INTERNATIONAL
 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                        EASTERN DIVISION
11
                                           )
12      GOOD SHEPHERD MINISTRIES           )      Civil Action No. _______________
        INTERNATIONAL, a                   )
13      501(c)(3) Nonprofit                )      COMPLAINT FOR
        California corporation,            )      TRADEMARK INFRINGEMENT
14                                         )      AND UNFAIR COMPETITION
                    Plaintiff,             )
15                                         )      JURY TRIAL DEMANDED
        vs.                                )
16                                         )
        JULY & RIPPA LLC,                  )
17      a Texas Limited Liability Company; )
        and DOES 1 THROUGH 5, inclusive, )
18                                         )
                    Defendants.            )
19                                         )
20                                      THE PARTIES
21             1. Plaintiff Good Shepherd Ministries International (“Good Shepherd”) is a
22      501(c)(3) Nonprofit California corporation having a principal place of business at
23      1200 Arizona St. Suite B2, Redlands, CA 92374.
24             2. Upon information and belief, Defendant July & Rippa LLC (“July &
25      Rippa”) is a Limited Liability Company existing under the laws of the State of
26      Texas, with a principal place of business at 101 E. McKinney St. #2106, Denton,
27      TX 76201.
28
        COMPLAINT
        Civ. Action No.                                                                1
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 2 of 23 Page ID #:2




 1
               3. The true names and capacities of Doe Defendants 1 through 5 are not
 2
        known to Good Shepherd at this time, and Good Shepherd therefore sues them
 3
        under fictitious names.        When the actual identities of Does 1 through 5 are
 4
        determined, Good Shepherd intends to seek leave of Court to amend this
 5
        Complaint to name such persons as Doe Defendants. Good Shepherd is informed
 6
        and believes, and thereon alleges, that Does 1 through 5 participated in the
 7
        wrongful acts described herein, and are responsible in some way for the wrongful
 8
        acts alleged herein. Accordingly, as indicated above and depending on the context
 9
        in which it is used herein, the term “Defendants” is intended to include not only
10
        “July & Rippa" but also any other Defendants or any individuals or other entities
11
        acting on behalf of or in coordination with the named Defendants regarding the
12
        matters discussed herein.
13
                                  JURISDICTION AND VENUE
14
               4. This Court has jurisdiction over this action pursuant to 28 U.S.C.A. §§
15
        1331, 1338, 1367, 15 U.S.C.A. §§ 1116 and 1121.
16
               5. This Court has personal jurisdiction over the Defendants consistent with
17
        the principles of due process, by virtue of one or more of the following:
18
               -   the Defendants transacting and doing business in this District,
19
               -   because a substantial part of the relevant events occurred in this District,
20
                   and/or
21
               -   because a substantial part of the property that is the subject of this action
22
                   is situated here.
23
               6. Venue is proper in this District pursuant to 28 U.S.C.A. §§ 1391(b) and
24
        1391(c).
25
                                       NATURE OF THE ACTION
26
               7. This is an action for previous and ongoing trademark infringement and
27
        unfair competition by July & Rippa under Section 32 of the Lanham Act, 15
28
        COMPLAINT
        Civ. Action No.                                                                      2
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 3 of 23 Page ID #:3




 1
        U.S.C.A. § 1114 (Registered Trademark Infringement); Section 43(a) of the Lanham
 2
        Act, 15 U.S.C.A. § 1125(a) (False Designation of Origin; Unfair Competition; and
 3
        Common Law Trademark Infringement); and the California Unfair Practices Act
 4
        (CA Bus & Prof Code § 17000 et seq.).
 5
               8. Good Shepherd seeks injunctive relief, damages, and attorney's fees in this
 6
        action.
 7
                                   FACTUAL ALLEGATIONS
 8
               9. Beginning in or around 1999 and continuing since that time, Good
 9
        Shepherd created and operates ISOM (an abbreviation for Good Shepherd’s
10
        “International School of Ministry”). Good Shepherd operates other ministries as well
11
        (such as Women of the World (WOW) and YouthBytes), but by far its main outreach
12
        and public persona is based in its trademark ISOM. In that regard, and upon
13
        information and belief, around 90% of Good Shepherd’s activities are carried out
14
        under its trademark ISOM. In addition, consumers make out their checks and other
15
        payments to ISOM.
16
               10. In fact, “Good Shepherd” does not even appear on the covers of many of
17
        Good Shepherd’s publications and products (although “Good Shepherd” typically
18
        is printed or otherwise included in the information inside those publications and
19
        materials, or is otherwise associated with those activities and products). By way of
20
        example, below (on the left) is a screenshot of a cover of one of Good Shepherd’s
21
        publications, and (on the right) a screenshot of a cover of that same publication:
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        COMPLAINT
        Civ. Action No.                                                                      3
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 4 of 23 Page ID #:4




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15             11. Since that time (1999), through decades of hard work, creative product
16      development, and high quality in its products and services, Good Shepherd has
17      earned great loyalty and renown within its industry, including as described below.
18             12. Because Good Shepherd is primarily known to the public under its
19
        trademark ISOM:
20
                   Good Shepherd chose to register its trademark ISOM (as discussed
21
                      below) rather than register “Good Shepherd” itself;
22
                   operates online under its main website ISOM.ORG and a related
23
                      website ISOMONLINE.ORG;
24
                   Good Shepherd’s identity is strongly tied into its ISOM.ORG website,
25
                      which it purchased and has been using for almost 25 years.
26
               13. Good Shepherd’s ISOM (International School of Ministry) is the largest
27
        multidenominational,    video-based    Bible   school   in   the    world,   providing
28
        COMPLAINT
        Civ. Action No.                                                                      4
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 5 of 23 Page ID #:5




 1
        undergraduate and graduate-level biblical education in ministry and the marketplace.
 2
        ISOM is known for its ethnic diversity with over 85 languages available, with more
 3
        than 20,000 schools joining the ISOM community from 150 countries. ISOM’s
 4
        world-class faculty includes nearly 100 ministers and marketplace leaders.
 5
               14. As part of its ISOM ministry, and for decades beginning in 1999, Good
 6
        Shepherd has developed and marketed numerous printed and electronic media
 7
        products, clothing, promotional items, and related products (the “Good Shepherd
 8
        Products”), which are marketed and sold throughout the United States and beyond,
 9
        under Good Shepherd’s trademark ISOM.         Good Shepherd has spent a substantial
10
        amount of time, energy, and money advertising and promoting its ISOM trademark
11
        and products in the United States and throughout the world,” as a result of which it
12
        has developed substantial and exclusive goodwill and reputation in connection with
13
        the ISOM Mark for the Good Shepherd Products.
14
               15. As a result, Good Shepherd now markets and sells Good Shepherd
15
        Products under the well-known trademark “ISOM,” which trademark is used to
16
        identify and distinguish the Good Shepherd Products from those of its competitors in
17
        the marketplace (the “ISOM Mark”).
18
               16. Good Shepherd is the owner of U.S. Trademark Registration No.
19
        3,517,031, registered on October 14, 2008 for ISOM (as a standard character mark)
20
        (the “ISOM Trademark Registration”), covering the following:
21
                   in International Class 9: audio and video media, namely, CDs, DVDs,
22
                      CD ROMs, MP3 recordings, CDRs, MP3 CD ROMs, AUDIO CD
23
                      ROMs, and cassettes, featuring religion, faith and inspirational content;
24
                      electronic media, namely, CDs, DVDs, CD ROMs, MP3 recordings,
25
                      CDRs, MP3 CD ROMs, AUDIO CD ROMs, and cassettes featuring
26
                      recordings in the field of religion; pre-recorded CD ROMs, MP3 CD
27
                      ROMs, and AUDIO CD ROMs featuring audio books and electronic
28
        COMPLAINT
        Civ. Action No.                                                                     5
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 6 of 23 Page ID #:6




 1
                      books having educational, inspirational, faith, fiction and entertainment
 2
                      content; Video disks and tapes, and downloadable video recordings
 3
                      featuring audio books and electronic books having educational,
 4
                      inspirational, faith, fiction and entertainment content; and
 5
                   in International Class 16: printed instructional, educational, and
 6
                      teaching materials, namely, brochures, note books, printed tests, printed
 7
                      exams, and workbooks, all in the field of religion.
 8
               17. Good Shepherd has been actively using the ISOM Mark as a trademark for
 9
        the Good Shepherd Products in interstate commerce since at least as early as
10
        December 25, 1999.
11
               18. Good Shepherd Products sold under the ISOM Mark have enjoyed
12
        extensive recognition in the marketplace.
13
               19. Good Shepherd has continuously marketed and sold Good Shepherd
14
        Products under the distinctive ISOM Mark since at least as early as December 25,
15
        1999, and it intends to continue to market and sell Good Shepherd Products under
16
        ISOM Mark in the future.
17
               20. Good Shepherd Products bearing the ISOM Mark are sold by Good
18
        Shepherd and its international licensees, over the Internet (including among other
19
        things, via social media such as Facebook and Instagram, and via regular YouTube
20
        videos), by emails and hard copy mailing, by in-person sales, and telephone orders
21
        (the “Good Shepherd Channels of Trade”).
22
               21. As a result of these efforts and expenditures, combined with substantial
23
        sales of quality Good Shepherd Products under the ISOM Mark, the relevant
24
        consuming public has come to recognize the ISOM Mark as favorably distinguishing
25
        Good Shepherd Products from those of its competitors.
26
               22. As a result of widespread public use and recognition, the ISOM Mark has
27
        become an asset of significant value and goodwill, and a successful indicator of the
28
        COMPLAINT
        Civ. Action No.                                                                     6
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 7 of 23 Page ID #:7




 1
        source of Good Shepherd Products.
 2
                          July & Rippa's Infringement of the ISOM Mark
 3
               23. On information and belief, July & Rippa is a relatively new comic
 4
        book/graphic novel company, marketing and selling its books and related
 5
        promotional and other products throughout the United States and around the world
 6
        (including into California and into this District). Upon information and belief, July &
 7
        Rippa markets and sells its books and related products directly to consumers, as well
 8
        as through retailers.
 9
               24. Upon information and belief, July & Rippa began using its ISOM mark on
10
        or about July 9, 2022, nearly 23 years after Good Shepherd commenced use of the
11
        ISOM Mark. In fact, in their own online admissions, July & Rippa has admitted that,
12
        in 2022, they “launched” their entire company (Rippaverse books) using the ISOM
13
        mark. Specifically, they posted online (at https://rippaverse.com/product/isom-1-
14
        campaign/) that “The Rippaverse is FINALLY here and Isom #1 is the perfect comic
15
        book to launch it.” (emphasis added). Below is a screenshot of their posting (with
16
        yellow highlighting on the relevant text):
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        COMPLAINT
        Civ. Action No.                                                                     7
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 8 of 23 Page ID #:8




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23             25. On information and belief, below is a related screenshot showing the
24      cover of July & Rippa’s first publication, a 96-page book entitled ISOM (at
25      https://rippaverse.com/product/isom-1-campaign/). On information and belief, ISOM
26      is the “hero” moniker/name that July & Rippa chose for their main character:
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28
        COMPLAINT
        Civ. Action No.                                                                8
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 9 of 23 Page ID #:9




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               26. As shown in the above cover and in the screenshots below (red circles and
21
        arrows added below for emphasis; screenshots from https://rippaverse.com/), and in
22
        addition to using the name ISOM, July & Rippa repeatedly (on information and
23
        belief, always) display their ISOM character with a cross on his belt:
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        COMPLAINT
        Civ. Action No.                                                                  9
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 10 of 23 Page ID #:10




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         COMPLAINT
         Civ. Action No.                                                         10
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 11 of 23 Page ID #:11




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         COMPLAINT
         Civ. Action No.                                                         11
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 12 of 23 Page ID #:12




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24              27. July & Rippa’s actions (using the name ISOM, and/or the cross on the
25       character’s belt) already have caused actual confusion. An example of that actual
26       confusion is shown in the following highlighted copy of an unsolicited email from
27       a third party, in which the sender specifically mentions the identity of the
28
         COMPLAINT
         Civ. Action No.                                                              12
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 13 of 23 Page ID #:13




 1
         trademark ISOM and the cross on the hero’s belt:
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19              28. Among other things, the above journalist’s email states:
20                    I would be curious to know when the decision was made to make a
21              comicbook character using the same name as the International School of
                Ministry, has Mr. July received any funding to aid him in the creation of
22              super hero Isom, info on the choice to have Isom have an image of the cross
23              on his belt, what we can hope to see with the continuation of ISOM on his
                journey to rescue Jasmine from prostitution, and if you could the amazing
24              choice to offer buyers the option to donate a copy of ISOM #2 for just
25              $17.50 to help children who are hospitalized. Totally on the record, if you
                please!
26
27
                      I thank you so much in extending your trademarked name in such a
                unique way and the creation of a new super hero…
28
         COMPLAINT
         Civ. Action No.                                                               13
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 14 of 23 Page ID #:14




 1                      (emphasis added).
 2              29. According to their online postings, and upon information and belief, July
 3       & Rippa completed their marketing campaign for ISOM #1 on July 25, 2022, and
 4       reached 3,738% of their marketing campaign for ISOM #1, for a total of more than
 5       $3.7    million    in   sales.     This   is   shown     on    their   website    (at
 6       https://rippaverse.com/product/isom-1-campaign/), as shown by the screenshot
 7       copied here:
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                30. According to their online postings, and upon information and belief, July
18
         & Rippa is now about to complete their marketing campaign for ISOM #2 on July
19
         31, 2023, and they have again exceeded their marketing campaign goal, for a total of
20
         more than $2.2 million in sales.          This is shown on their website (at
21
         https://rippaverse.com/product/isom-2-campaign/), as shown by the screenshot
22
         copied here:
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         COMPLAINT
         Civ. Action No.                                                                  14
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 15 of 23 Page ID #:15




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13
                31. July & Rippa's ISOM Mark is confusingly similar to Good Shepherd's
14
         ISOM Mark. Without attempting to comprehensively list or analyze the factors
15
         involved in such an infringement analysis:
16
                    The marks themselves are identical.
17
                    Presumably, the marks are pronounced identically.
18
                    The use of the cross on their hero’s belt furthers the likelihood of
19
                       confusion with Good Shepherd’s trademark ISOM.
20
                    Actual confusion has already occurred.
21
                32. Upon information and belief, July & Rippa commenced use of the
22
         trademark ISOM in connection with their books (the “ISOM Mark”) sometime in
23
         2022. Thereafter, July & Rippa has developed, marketed, sold, and continues to sell,
24
         Infringing Goods under the ISOM Mark, improperly benefiting from the extensive
25
         goodwill associated with Good Shepherd's ISOM Mark.
26
                33. Upon information and belief, July & Rippa have posted extensive
27
         promotional materials on their own website (rippaverse.com) and on other Internet
28
         COMPLAINT
         Civ. Action No.                                                                 15
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 16 of 23 Page ID #:16




 1
         sites and social media. Upon information and belief, July & Rippa’s postings are
 2
         further intentional attempts to mislead, divert, and/or confuse the consumer as to the
 3
         relatedness of the source of the respective parties' goods
 4
                34. The Infringing Goods compete with the Good Shepherd Products sold
 5
         under the ISOM Mark. By way of example, in addition to competing on books and
 6
         media publications, July & Rippa sell related items (such as the hats and shirts shown
 7
         below) that directly compete with Good Shepherd’s, both bearing the trademark
 8
         ISOM:
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         COMPLAINT
         Civ. Action No.                                                                   16
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 17 of 23 Page ID #:17




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                 Good Shepherd Products            July & Rippa Infringing Products
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         COMPLAINT
         Civ. Action No.                                                          17
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 18 of 23 Page ID #:18




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                 Good Shepherd Products               July & Rippa Infringing Products
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24
                35. The consumers and potential consumers of Good Shepherd Products sold
25
         under the ISOM Mark are identical to, or at least considerably overlap, the
26
         consumers and potential consumers of the Infringing Goods.
27
                36. Upon information and belief, the Infringing Goods are sold in the same
28
         COMPLAINT
         Civ. Action No.                                                              18
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 19 of 23 Page ID #:19




 1
         channels of trade as the Good Shepherd Products sold under the ISOM Mark.
 2
                37. July & Rippa's infringing activities are likely to cause confusion, mistake,
 3
         and deception among the consuming public as to the origin of the Infringing Goods.
 4
                38. July & Rippa's use of the ISOM Mark in connection with books sold to
 5
         Good Shepherd Consumers in the Good Shepherd Channels of Trade creates a false
 6
         designation of origin, which is likely to cause confusion as to the affiliation,
 7
         sponsorship or approval of July & Rippa with Good Shepherd.
 8
                39. July & Rippa's sale of Infringing Goods will cause Good Shepherd injury
 9
         because such use is likely to cause confusion and/or mistake by wrongly leading
10
         persons to believe that the Infringing Goods are provided by, sponsored by, endorsed
11
         by or otherwise associated with Good Shepherd.
12
                40. In addition to causing confusion in the minds of consumers, July &
13
         Rippa's continued use of the ISOM Mark is likely to cause mistake or to deceive, or
14
         otherwise injure, diminish, or detract from the prior rights firmly established by Good
15
         Shepherd in and to the ISOM Mark.
16
                41. The value of Good Shepherd's goodwill associated with its ISOM Mark
17
         will be impaired by July & Rippa's continued use of a confusingly similar mark on
18
         competitive goods, over which Good Shepherd has no quality control.
19
                42. By reason of the foregoing, Good Shepherd has been damaged and will be
20
         further damaged by July & Rippa's use of the ISOM Mark.
21
                                             COUNT ONE:
22
                           REGISTERED TRADEMARK INFRINGEMENT
23
              UNDER SECTION 32 OF THE LANHAM ACT, 15 U.S.C.A. § 1114
24
                43. Good Shepherd repeats and realleges paragraphs 1 through 42 of its
25
         Complaint, as if fully set forth herein.
26
                44. July & Rippa's actions constitute infringement of the ISOM Trademark
27
         Registration in violation of Good Shepherd's rights under Section 32 of the Lanham
28
         COMPLAINT
         Civ. Action No.                                                                    19
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 20 of 23 Page ID #:20




 1
         Act, 15 U.S.C.A. § 1114.
 2
                45. As a direct result of July & Rippa's unlawful activities, Good Shepherd has
 3
         suffered and will continue to suffer damages in an amount to be determined at trial.
 4
                46. July & Rippa's conduct has caused and will continue to cause injury to
 5
         Good Shepherd's goodwill and reputation, and will continue to both damage Good
 6
         Shepherd and the public unless enjoined by this Court.
 7
                                             COUNT TWO:
 8
                                FALSE DESIGNATION OF ORIGIN
 9
           UNDER SECTION 43(a) OF THE LANHAM ACT, 15 U.S.C.A. § 1125(a)
10
                47. Good Shepherd repeats and realleges paragraphs 1 through 46 of its
11
         Complaint, as if fully set forth herein.
12
                48. July & Rippa's actions constitute a false designation of origin under 15
13
         U.S.C.A. § 1125(a), which is likely to cause confusion, mistake or to deceive and has
14
         confused and deceived consumers into believing that July & Rippa and the Infringing
15
         Goods are affiliated with, sponsored by, or somehow connected with Good Shepherd,
16
         the Good Shepherd Products and/or the ISOM Mark.
17
                49. July & Rippa's unlawful activities reflect adversely on Good Shepherd
18
         because Good Shepherd has no ability to control the quality of July & Rippa's goods,
19
         and as the believed source of origin, Good Shepherd's efforts to continue to protect its
20
         reputation for high quality products and services will be hampered, resulting in the
21
         loss of goodwill and sales, to the irreparable harm of Good Shepherd.
22
                50. As a direct and proximate result of July & Rippa's above-described
23
         actions, Good Shepherd has suffered and will continue to suffer damages in an
24
         amount to be determined at trial.
25
                                             COUNT THREE:
26
           UNFAIR TRADE PRACTICES IN VIOLATION OF CALIFORNIA LAW
27
                51. Good Shepherd repeats and realleges paragraphs 1 through 50 of its
28
         COMPLAINT
         Civ. Action No.                                                                     20
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 21 of 23 Page ID #:21




 1
         Complaint, as if fully set forth herein.
 2
                52. July & Rippa has committed unfair and deceptive acts and practices, in
 3
         violation of the California Unfair Practices Act (CA Bus & Prof Code § 17000 et
 4
         seq.), including the following misconduct:
 5
                (a) passing off its goods or services as those of Good Shepherd goods and
 6
         services sold under the ISOM Mark;
 7
                (b) causing the likelihood of confusion or of misunderstanding as to the
 8
         source, sponsorship, approval, or certification of goods or services July & Rippa is
 9
         developing, advertising, promoting and selling under the ISOM Mark;
10
                (c) causing likelihood of confusion or of misunderstanding as to affiliation,
11
         connection, or association with, or certification by Good Shepherd of products
12
         developed, advertised, promoted and sold by July & Rippa under its ISOM Mark;
13
         and
14
                (d) representing, expressly or implicitly, that goods or services developed,
15
         advertised, promoted and sold by July & Rippa under its ISOM Mark have
16
         sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that
17
         they do not have.
18
                53. July & Rippa willfully engaged in all acts constituting deceptive and
19
         unfair practices described in this Complaint.
20
                54. July & Rippa's deceptive and unfair practices have impaired the goodwill
21
         associated with Good Shepherd's ISOM Mark.
22
                55. As a direct and proximate result of July & Rippa's deceptive and unfair
23
         practices, Good Shepherd has suffered and will continue to suffer damages in an
24
         amount to be determined at trial.
25
                56. On information and belief, July & Rippa’s foregoing actions are willful
26
         and deliberate, and July & Rippa have no good faith basis for believing that July &
27
         Rippa’s use of ISOM is not infringing Good Shepherd’s rights.
28
         COMPLAINT
         Civ. Action No.                                                                   21
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 22 of 23 Page ID #:22




 1
                57. On information and belief, July & Rippa intend to continue their actions
 2
         engage in unlawful infringing activity. Unless July & Rippa are enjoined by this
 3
         Court from doing so, Good Shepherd will suffer irreparable harm—for which there
 4
         is no adequate remedy at law—from July & Rippa’s unlawful infringing activity.
 5
                                               PRAYER
 6
                WHEREFORE, Plaintiff Good Shepherd respectfully requests that the Court
 7
         enter judgment against July & Rippa as follows:
 8
              A. Award Good Shepherd a judgment on each of its claims in an amount to be
 9
         determined at trial;
10
              B. Award Good Shepherd a permanent injunction prohibiting July & Rippa, and
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         anyone acting in concert with July & Rippa, directly or indirectly: (i) developing,
12
         advertising, marketing, or selling any product or service under the ISOM Mark, in the
13
         field of audio and video media and/or printed materials; and (ii) developing,
14
         advertising, marketing or selling any product or service under any mark that is
15
         confusingly similar to the ISOM Mark, in the field of audio and video media and/or
16
         printed materials;
17
              C. Award damages adequate to compensate Good Shepherd for the aforesaid
18
         infringement under 15 U.S.C.A. § 1117(a) including Good Shepherd's lost profits,
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         but not less than a reasonable royalty;
20
              D. Award the recovery of the July & Rippa's profits to Good Shepherd under 15
21
         U.S.C.A. § 1117(a);
22
              E. Award the recovery of Good Shepherd's costs of this action under 15
23
         U.S.C.A. § 1117(a);
24
              F. Declare this case exceptional and award Good Shepherd its reasonable
25
         attorney's fees under 15 U.S.C.A. § 1117(a); and
26
              G. Provide such other and further relief as the Court may deem just and proper
27
         under the circumstances.
28
         COMPLAINT
         Civ. Action No.                                                                  22
     Case 5:23-cv-01694-SSS-AGR Document 1 Filed 08/21/23 Page 23 of 23 Page ID #:23




 1
                                                DEMAND FOR JURY TRIAL
 2
                   Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, demand is
 3
         hereby made for trial by jury on all issues properly triable by jury.
 4
 5
 6                                                                   Respectfully submitted,

 7
 8
 9       Dated:             August 21, 2023                          /s/ J. Mark Holland
                                                                     J. Mark Holland
10                                                                   J. MARK HOLLAND & ASSOCIATES
                                                                     Attorneys for PLAINTIFF
11                                                                   GOOD SHEPHERD MINISTRIES
                                                                     INTERNATIONAL
12
13       https://d.docs.live.net/365d5d3a52bd96fc/Clients/GOOD3/L3473.1/Pleadings/Complaint_Related/Drafts/2023-08-21_Complaint_FINAL2.docx


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         COMPLAINT
         Civ. Action No.                                                                                                              23
